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          From: "hrs@wsu.edu" <hrs@wsu.edu>
             To: "Dennler, Bonnie "<b.carothers@wsu.edu>
        Subject: Scanned from HRS Xerox Multifunction Printer
           Date: Fri, 15 Oct 2021 11:47:25 -0700
    Importance: Normal
   Attachments: Scanned_from_a_Xerox_Multifunction_Printer.pdf




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  October 13, 2021
  Re: Religious Accommodation Request I Nicholas Rolovich

  This response is a supplement to the earlier response to the request received from HRS on
  October 6, 2021, regarding a religious accommodation request for Nick Rolovich (Employee).
  The initial response focused on the essential functions of Rolovich's job and the inability to
  perform those functions with the requested accommodations.

  Underlying the request for an accommodation is the initial conclusion that Rolovich met the
  requirements for a religious exemption to the vaccination requirement by demonstrating a
  sincerely held religious belief against being vaccinated for COVID-19. Rolovich has made several
  statements that cast doubt on his claimed sincerely held religious belief. The statements and
  the timing of Rolovich's statements with respect to religious beliefs as they relate to COVID-19
  vaccinations are summarized below.

      •   In numerous formal and informal meetings between March and August, Rolovich made
          it clear to Pat Chun, his supervisor, and many within the Athletics Department, that he
          was unwilling to take the vaccine based on his independent research. He stated on
          multiple times he had done his own research, made an independent decision and came
          to a conclusion that he would not take the vaccine. It was clear from these statements
          that his decision not to be vaccinated was based on the conclusions he reached
          following his own research. On May 24, 2021, Rolovich firmly restated to Pat Chun his
          stance on not taking the vaccine based on his research in a meeting in Pat Chun's office.

      •   On August 19, 2021, Rolovich personally reiterated and reaffirmed directly to Pat Chun
          his ongoing stance of not receiving a COV1D-19 vaccination. He disclosed he attempted
          to seek a medical exemption but was unable to secure the necessary documentation. He
          then disclosed he would elect to pursue a religious based exemption to meet the
          employment requirements stated in the Governor's Proclamation 2144-1.
                  In that meeting, Pat Chun stated directly to Rolovich that since the start of this
                  pandemic, Rolovich had been vocal and consistent in his opinions and
                  skepticisms about the COVID-19 virus and the full nature of the public health
                  emergency. He has continuously been critical of the role the government and
                  communicated a multitude of baseless theories with respect to vaccination.

      •   The following are examples of his reasoning:
              • COVID-19 Vaccine was not fully FDA approved, and therefore not safe
              € The vaccine could and would negatively impact women and fertility rates
              • The vaccine would negatively impact his mortality

  The government and therefore the vaccine could not be trusted. Rolovich participated in Pac-12
  Conference sponsored and WSU Athletics mandated education sessions relative to the merits of




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  the COVID-19 vaccine. In addition, WSU Athletics arranged a one-on-one meeting with Dr. Guy
  Palmer, a world-renowned infectious disease expert. Notwithstanding information shared by
  the experts in these sessions, Rolovich continued to rely on the results of his own research.

  In sum, throughout the multiple individual and group meetings, Rolovich made it clear that he
  refused to be vaccinated based on the conclusions he reached through his own research, he
  only mentioned religion after the Governor issued the Proclamation requiring vaccination, and
  then only mentioned religion in reference to seeking an exemption from the vaccination
  requirement. We believe these facts support re-evaluation of the claimed sincerely held
  religious belief.




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